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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASENO. 8:12-CR-S62-7-30 740
18 U.S.C. § 371
RASHIA WILSON 18 U.S.C. § 1343
18 U.S.C. § 287
and 18 U.S.C. § 641
18 U.S.C. § 1028A
MAURICE J. LARRY 18 U.S.C. § 981(a)(1)(C) - Forfeiture
28 U.S.C. § 2461(c) - Forfeiture
INDICTMENT
The Grand Jury charges:
COUNT ONE

(CONSPIRACY)

A. The Conspiracy

1. Beginning on an unknown date, but as early as in or about April
2009, and continuing thereafter, through and including at least September 19,

2012, in the Middle District of Florida and elsewhere,

RASHIA WILSON, and
MAURICE J. LARRY,

the defendants herein, knowingly and willfully did combine, conspire, confederate
and agree, with one another and with others, both known and unknown to the
Grand Jury, to commit certain offenses, specifically:

(a) To devise and intend to devise a scheme and artifice to defraud

and for obtaining money and property by means of materially false and
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fraudulent pretenses, representations, and promises, utilizing transmissions by
means of wire and radio communication in interstate and foreign commerce of
any writings, signs, signals, and sounds, in violation of Title 18, United States
Code, Section 1343;

(b) | To make and present, and to cause to be made and presented,
to the Internal Revenue Service, an agency of the U.S. Department of the
Treasury, claims against the United States for payment, specifically, U.S.
Individual Income Tax Returns, which the co-conspirators knew to be false,
fictitious, and fraudulent with respect to material facts, in violation of Title 18,
United States Code, Section 287; and

(c) To knowingly and willfully steal, embezzle, purloin and convert
to their own use and the use of others more than $1,000 in United States
currency with the intent to deprive the owner of the use and benefit of the
property so taken, said funds being fraudulently issued tax refunds, which were
the property of the United States Treasury, and of the United States of America,
in violation of Title 18, United States Code, Section 641.

B. Manner and Means
2. The manner and means by which the conspirators sought to
accomplish the objects of the conspiracy included, among others:

(a) ‘It was a part of the conspiracy that defendants RASHIA

WILSON and MAURICE J. LARRY and others known and unknown to the Grand
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Jury would and did use stolen and fraudulently obtained personal identifying
information, including names and social security numbers, of individuals to
prepare fraudulent U.S. income tax returns using that personal identifying
information.

(b) It was further part of the conspiracy that defendants RASHIA
WILSON and MAURICE J. LARRY and others known and unknown to the Grand
Jury would and did electronically file fraudulent federal income tax returns in
order to generate and obtain tax refunds to which they were not entitled.

(c) It was further part of the conspiracy that defendants RASHIA
WILSON and MAURICE J. LARRY and others known and unknown to the Grand
Jury would and did direct that some of the fraudulently obtained tax refunds be
deposited onto reloadable debit cards and that some of them be disbursed as
U.S. Treasury Checks.

(d) It was further part of the conspiracy that defendants RASHIA
WILSON and MAURICE J. LARRY and others known and unknown to the Grand
Jury would and did use the fraudulent tax refunds to obtain cash and goods for
their own benefit and the benefit of others.

(e) It was further part of the scheme and artifice to defraud that the
defendants would and did misrepresent, conceal, hide, and cause to be
misrepresented, concealed, and hidden, acts done in furtherance of the scheme

and artifice to defraud and the purpose of those acts.
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C. Overt Acts
3. In furtherance of and to affect the objectives of the conspiracy, the
following overt acts, among others, were committed in the Middle District of
Florida, and elsewhere:
(a) On or about the dates set forth below, each of which constitutes
a separate overt act, defendants RASHIA WILSON and MAURICE J. LARRY
electronically filed fraudulent 2011 U.S. Individual Income Tax Returns using the

names set forth below from a hotel located in the Middle District of Florida:

Date Initials
April 20, 2072 S.W.
April 21, 2012 M.B.
April 23, 2012 M.C.
April 23, 2012 G.T.
April 24, 2012 J.D.

(b) On or about the dates set forth below, each of which constitutes
a separate overt act, defendants RASHIA WILSON and MAURICE J. LARRY
electronically filed fraudulent 2011 U.S. Individual Income Tax Returns using the

names set forth below from WILSON’s residence in the Middle District of Florida:

Date Initials
May 8, 2012 LZ.
May 8, 2012 J.Z.

May 10, 2012 E.D.

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Date initials
May 10, 2012 B.D.

(c) On or about the dates set forth below, each of which constitutes
a separate overt act, defendants RASHIA WILSON and MAURICE J. LARRY
and others known and unknown to the Grand Jury used or attempted to use

fraudulent tax refunds for the following purposes in the Middle District of Florida:

Date Purpose Source of Funds
April 25, 2012 Charge in the amount of Fraudulent tax refund
$976.16 at the in the name E.N.
Chase Suites Hotel, in
Tampa, Florida
May 3, 2012 Withdrawals in the Fraudulent tax refund
amounts of $803.00 and in the name M.C.
$503.00 from a Fifth Third
Bank ATM
May 16, 2012 Charge in the amount of Fraudulent tax refund in the
$1,444.48 at Ashley name KS,
Furniture, in Brandon,
Florida
June 30, 2012 Charge in the amount of Fraudulent tax refunds in
$1,700.00 at Action Promos the names G.T. and Ma.S.
and Events

(d) Onor about May 3, 2012, defendant RASHIA WILSON
purchased and caused to be purchased a 2013 Audi A8L using a cashier's

check for $92,682.67, which funds were proceeds of fraudulent U.S. Income Tax

Returns and refunds.

All in violation of Title 18, United States Code, Section 371.
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COUNTS TWO THROUGH TEN
(WIRE FRAUD)

A. The Scheme and Artifice
1. Beginning on an unknown date, but as early as in or about April
2009, and continuing thereafter, through and including September 19, 2012, in
the Middle District of Florida and elsewhere,

RASHIA WILSON and
MAURICE J. LARRY,

the defendants herein, did knowingly and willfully devise and intend to devise a
scheme and artifice to defraud, and for obtaining money and property by means
of materially false and fraudulent pretenses, representations, and promises,
utilizing transmissions by means of wire and radio communication in interstate
and foreign commerce of any writings, signs, signals and sounds.
B. Manner and Means of the Scheme
2. The Grand Jury hereby realleges Paragraph 2 of Count One of this
Indictment and incorporates such paragraph by this reference as though fully set
forth herein.
C. Interstate Wire Transmissions
3. On or about the dates listed below, in the Middle District of Florida and
elsewhere,

RASHIA WILSON and
MAURICE J. LARRY,

the defendants herein, for the purpose of executing the aforementioned scheme and

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artifice to defraud and attempting to do so, transmitted and caused to be transmitted

by wire in interstate commerce the following electronically filed federal income tax

returns:
Count Victim Date From To
TWO S.W. April 20, 2012 Tampa, FL IRS Service Center,
Austin, TX
THREE M.B. April 21, 2012 Tampa, FL IRS Service Center,
Austin, TX
FOUR M.C. April 23, 2012 Tampa, FL IRS Service Center,
Austin, TX
FIVE G.T. April 23, 2012 Tampa, FL IRS Service Center,
Austin, TX
. IRS Service Center,
SIX J.D. April 24, 2012 Tampa, FL Philadelphia, PA
IRS Service Center,
SEVEN 1.2. May 8, 2012 Wimauma, FL Philadelphia, PA
IRS Service Center,
EIGHT J.Z. May 8, 2012 Wimauma, FL Philadelphia, PA
IRS Service Center,
NINE E.D. May 10, 2012 Wimauma, FL Austin, TX
IRS Service Center,
TEN B.D. May 10, 2012 Wimauma, FL Austin, TX

In violation of Title 18, United States Code, Sections 1343 and 2.
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COUNTS ELEVEN AND TWELVE
(FILING FALSE CLAIMS)

On or about the dates listed below, in the Middle District of Florida, and

elsewhere,
RASHIA WILSON,

the defendant herein, knowingly made and presented, and caused to be made and
presented, to the Internal Revenue Service, an agency of the U.S. Department of
the Treasury, claims against the United States for payment, which she knew to be
false, fictitious, and fraudulent with respect to material facts, by preparing and
causing to be prepared U.S. Individual Income Tax Returns, which were filed with

the Internal Revenue Service and claimed refunds on behalf of the individuals

named below on the dates indicated below:

Count Tax Payer Filing Date Refund Claimed
ELEVEN S.M.W. April 15, 2009 $7,524.00
TWELVE J.H. April 21, 2009 $7,977.00

All in violation of Title 18, United States Code, Sections 287 and 2.

COUNTS THIRTEEN THROUGH TWENTY-NINE
(FILING FALSE CLAIMS)

On or about the dates listed below, in the Middle District of Florida, and
elsewhere,

RASHIA WILSON and
MAURICE J. LARRY,

the defendants herein, knowingly made and presented, and caused to be made and
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presented, to the Internal Revenue Service, an agency of the U.S. Department of
the Treasury, claims against the United States for payment, which they knew to be
false, fictitious, and fraudulent with respect to material facts, by preparing and
causing to be prepared U.S. Individual Income Tax Returns, which were filed with
the Internal Revenue Service and claimed refunds on behalf of the individuals

named below on the dates indicated below:

Count Tax Payer Filing Date Refund Claimed
THIRTEEN E.N. April 10, 2012 $3,500.00
FOURTEEN S.W. April 20, 2012 $9,987.00

FIFTEEN M.B. April 21, 2012 $9,987.00
SIXTEEN M.C. April 23, 2012 $9,987.00
SEVENTEEN G.T. April 23, 2012 $9,987.00
EIGHTEEN K.S. April 27, 2012 $9,987.00
NINETEEN 1.Z. May 8, 2012 $3,500.00
TWENTY J.Z. May 8, 2012 $3,500.00
TWENTY-ONE E.D. May 10, 2012 $9,987.00
TWENTY-TWO B.D. May 10, 2012 $9,987.00
TWENTY-THREE Ma.S. June 12, 2012 $6,666.00
TWENTY-FOUR G.C. July 17, 2012 $5,774.00
TWENTY-FIVE K.W. July 24, 2012 $7,497.00
TWENTY-SIX M.S. August 17, 2012 $9,361.00
TWENTY-SEVEN P.L. August 17, 2012 $9,109.00
TWENTY-EIGHT MF. August 20, 2012 $7,497.00
TWENTY-NINE B.C. August 20, 2012 $7,715.00

All in violation of Title 18, United States Code, Sections 287 and 2.

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COUNT THIRTY
(THEFT OF GOVERNMENT PROPERTY)

On or about the dates listed below, in the Middle District of Florida and elsewhere,
RASHIA WILSON,

the defendant herein, did knowingly and willfully steal, embezzle, purloin and

convert to her own use and the use of others, more than $1,000 in United States

currency with the intent to deprive the owner of the use and benefit of the property

so taken, said funds being tax refunds fraudulently issued in the names of the victim

listed below, on the dates listed below, which were the property of the United States

Treasury, and of the United States of America:

Count Tax Payer Date of Refund Refund Amount
THIRTY S.M.W. April 24, 2009 $7,524.00

In violation of Title 18, United States Code, Sections 641 and 2.

COUNTS THIRTY-ONE THROUGH FORTY-THREE
(THEFT OF GOVERNMENT PROPERTY)

On or about the dates listed below, in the Middle District of Florida and
elsewhere,

RASHIA WILSON and
MAURICE J. LARRY,

the defendants herein, did knowingly and willfully steal, embezzle, purloin and
convert to their own use and the use of others, more than $1,000 in United States
currency with the intent to deprive the owner of the use and benefit of the property

so taken, said funds being tax refunds fraudulently issued in the names of the victim

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listed below, on the dates listed below, which were the property of the United States

Treasury, and of the United States of America:

Count Tax Payer Date of Refund Refund Amount
THIRTY-ONE E.N. April 18, 2012 $3,500.00
THIRTY-TWO S.W. May 2, 2012 $4,055.09

THIRTY-THREE M.B. May 2, 2012 $9,987.00
THIRTY-FOUR M.C. May 2, 2012 $9,987.00
THIRTY-FIVE G.T. May 2, 2012 $5,332.93
THIRTY-SIX K.S. May 16, 2012 $9,987.00
THIRTY-SEVEN Ma.S. June 27, 2012 $6,666.00
THIRTY-EIGHT G.C. July 25, 2012 $5,774.00
THIRTY-NINE K.W. August 22, 2012 $7,497.00
FORTY M.S. August 27, 2012 $9,361.00
FORTY-ONE P.L. August 29, 2012 $9,109.00
FORTY-TWO MF. September 14, 2012 $7,497.00
FORTY-THREE B.C. September 14, 2012 $7,715.00

In violation of Title 18, United States Code, Sections 641 and 2.

COUNT FORTY-FOUR
(AGGRAVATED IDENTITY THEFT)

On or about the dates listed below, in the Middle District of Florida and elsewhere,
RASHIA WILSON,

the defendant herein, did knowingly transfer, possess and use without lawful

authority, means of identification of another person, during and in relation to the

felony offense of theft of government property, in violation of 18 U.S.C. § 641:

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Count Tax Payer Date Description

FORTY-FOUR S.M.W. April 24, 2009 Use of victim’s name and Social
Security Number to file federal income
tax return for 2008 tax year

In violation of Title 18, United States Code, Sections 1028A and 2.

COUNTS FORTY-FIVE THROUGH FIFTY-SEVEN
(AGGRAVATED IDENTITY THEFT)

On or about the dates listed below, in the Middle District of Florida and
elsewhere,

RASHIA WILSON, and
MAURICE J. LARRY,

the defendants herein, did knowingly transfer, possess and use without lawful
authority, means of identification of another person, during and in relation to the

felony offense of theft of government property, in violation of 18 U.S.C. § 641:

Count Tax Payer Date Description

FORTY-FIVE E.N. April 10, 20412 Use of victim’s name and Social
Security Number to file federal income
tax return for 2011 tax year

FORTY-SIX S.W. April 20, 2012 Use of victim’s name and Social
Security Number to file federal income
tax return for 2011 tax year

FORTY-SEVEN M.B. April 21, 2012 Use of victim’s name and Social
Security Number to file federal income
tax return for 2011 tax year

FORTY-EIGHT M.C. April 23, 2012 Use of victim’s name and Social
Security Number to file federal income
tax return for 2011 tax year

FORTY-NINE G.T. April 23, 2012 Use of victim’s name and Social
Security Number to file federal income
tax return for 2011 tax year

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Count

Tax Payer

Date

Description

FIFTY

K.S.

April 27, 2012

Use of victim’s name and Social

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Security Number to file federal income
tax return for 2011 tax year

FIFTY-ONE Ma.S. June 12, 2012 Use of victim’s name and Social

Security Number to file federal income
tax return for 2011 tax year

FIFTY-TWO G.Cc. July 17, 2012 Use of victim’s name and Social
Security Number to file federal income

tax return for 2011 tax year

FIFTY-THREE K.W. July 24, 2012 Use of victim’s name and Social
Security Number to file federal income

tax return for 2011 tax year

FIFTY-FOUR M.S. August 17, 2012 Use of victim’s name and Social
Security Number to file federal income

tax return for 2011 tax year

FIFTY-FIVE P.L. August 17, 2012 Use of victim’s name and Social
Security Number to file federal income

tax return for 2011 tax year

FIFTY-SIX M.F. August 20, 2012 Use of victim’s name and Social
Security Number to file federal income

tax return for 2011 tax year

FIFTY-SEVEN B.C. August 20, 2012 Use of victim’s name and Social
Security Number to file federal income

tax return for 2011 tax year

In violation of Title 18, United States Code, Sections 1028A and 2.
FORFEITURE
1. The allegations contained in Counts One through Ten and Thirty
through Forty-Three of this Indictment are hereby realleged and incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of Title 18,

United States Code, Sections 981(a)(1)(C) and Title 28, United States Code,
Section 2461(c).

2. Upon conviction of the violations of Title 18, United States Code,

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Sections 371 (conspiracy to violate sections 1343 and 641), 1343, and 641 alleged
in Counts One through Ten and Thirty through Forty-Three of this Indictment,
defendants RASHIA WILSON and MAURICE J. LARRY shall forfeit to the United
States of America, pursuant to Title 18, United States Code, Sections 981(a)(1)(c)
and Title 28, United States Code, Section 2461(c), any property, real or personal,
which constitutes or is derived from proceeds traceable to those violations.

3. The property to be forfeited includes, but is not limited to a
forfeiture money judgment of at least $1,176,787.00, representing the total amount
of proceeds obtained as a result of the violations.

4. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
party;

Cc. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property
under the provisions of Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(c).

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ROBERT A. MOSAKOWSKI
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Chief, Economic Crimes Section

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No.

UNITED STATES DISTRICT COURT

Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA
vs.

RASHIA WILSON
and
MAURICE J. LARRY

INDICTMENT
Violations:

Title 18, United States Code, Section 371 - Conspiracy - Count One
Title 18, United States Code, Section 1343 - Wire Fraud - Counts Two through Ten
Title 18, United States Code, Section 287 - Filing False Claims - Counts Eleven through Twenty-Nine
Title 18, United States Code, Section 641 - Theft of Goverment Property - Counts Thirty through Forte-Three
Title 18, United States Code, Section 1028A - Aggravated Identity Theft - Counts Forty-Four through Fifty Seven

A true-bill,

ft
Foréperson

Filed in open court this 18th day

of December, 2012.

Clerk

Bail $

GPO 863 525
